USCA4 Appeal: 23-1059    Doc: 39        Filed: 03/03/2023   Pg: 1 of 10




                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

      SOUTH CAROLINA STATE PORTS             )
      AUTHORITY                              )
                                             )
                              Petitioner     )    Case No. 23-1059
                                             )
                   and                       )
                                             )
     THE STATE OF SOUTH CAROLINA;            )
     UNITED STATES MARITIME                  )
     ALLIANCE, LTD.                          )
                                             )
                              Intervenors    )
                                             )
                    v.                       )
                                             )
     NATIONAL LABOR RELATIONS BOARD )
                                             )
                              Respondent     )
                                             )
                  and                        )
                                             )
     INTERNATIONAL LONGSHOREMEN’S            )
     ASSOCIATION, LOCAL 1422;                )
     INTERNATIONAL LONGSHOREMEN’S            )
     ASSOCIATION                             )
                                             )
                              Intervenors    )
            _______________________________________________________

              MOTION OF THE NATIONAL LABOR RELATIONS BOARD
               TO FILE BRIEFS SEPARATE FROM OTHER PARTIES

     To the Honorable, the Judges of the United States
      Court of Appeals for the Fourth Circuit:

           Pursuant to Local Rules 12(e) and 28(d), the National Labor Relations Board, by

     its Deputy Associate General Counsel, respectfully moves for leave to file its own briefs
USCA4 Appeal: 23-1059      Doc: 39        Filed: 03/03/2023    Pg: 2 of 10




      in the above-captioned appeal, rather than filing joint briefs with other parties as

      required by this Court’s February 23, 2023 briefing order (Doc. #38). The Board has a

      strong interest in presenting its position separate from any other party, given its unique

      role in interpreting and applying federal labor policy, including in the underlying unfair-

      labor-practice proceeding. In support of this motion, the Board shows as follows:

            1. This case is before this Court on the petition of the South Carolina State Ports

      Authority (“SCSPA”) to review a Board Decision and Order issued on December 16,

      2022, in International Longshoremen’s Association, AFL-CIO, CLC, 372 NLRB No.

      86. In its Order, the Board dismissed unfair-labor-practice complaints against the

      International Longshoremen’s Association (“ILA”) and its Local 1422 (“Local 1422”)

      (collectively, “the Unions”) and United States Maritime Alliance, Ltd. (“USMX”). Id.,

      slip op. at 3, 8. One complaint was based on charges by SPSCA and the State of South

      Carolina (“the State”) that the Unions and USMX had entered into an unlawful

      collective-bargaining agreement. Id., slip op. 3. The other complaint was based on

      charges by SCSPA, the State, and USMX that ILA had filed an unlawful lawsuit against

      USMX. Id.

            2. The Unions, USMX, and the State have intervened in the present appeal.

            3. On February 23, 2023, this Court issued an order requiring that all parties to a

      side file a single principal brief of 16,000 words, except for Intervenor USMX, which

      has been afforded the opportunity to file its own brief of 13,000 words. See February 23


                                                   2
USCA4 Appeal: 23-1059      Doc: 39        Filed: 03/03/2023     Pg: 3 of 10




      Court Order at 2. Thus, the Board, as Respondent, is currently required to file a joint

      brief with the Intervenor Unions in response to the joint opening brief of Petitioner

      SCSPA and its intervenor, the State. The order further provides that after principal

      briefs have been filed and Intervenor USMX has filed its standalone brief, “Petitioners’

      reply brief and responses to USMX’s brief [are] due, requiring a single brief of 6,500

      words.” See February 23 Court Order at 2.

            4. The Board respectfully submits that it would be inappropriate for it to file

      collaborative or joint briefs with other parties, for several reasons.

                   a. Unlike the other parties to this appeal, the Board was not a litigant

      below. It was the decision-maker and considered arguments made to it, including by the

      unions that have now intervened on the Board’s side.

                   b. Moreover, although the Board ultimately found in favor of the Unions

      by dismissing all charges against them, it did not adopt wholesale all of their

      arguments. For example, ILA argued that under Board precedent its lawsuit would not

      be unlawful unless it had also committed an “underlying act” apart from the filing of the

      lawsuit. However, the Board found it unnecessary to reach that argument. 372 NLRB

      No. 86, slip op. at 5 n.14.

                   c. Further, even when a divergence of views does not exist, the Board’s

      interests cannot be reduced to those of private parties, such as the Unions here. As the

      Supreme Court has long recognized, the Board acts to advance the public interest, not to


                                                    3
USCA4 Appeal: 23-1059      Doc: 39        Filed: 03/03/2023    Pg: 4 of 10




      “adjudicate private controversies.” NLRB v. Fant Milling Co., 360 U.S. 301, 307-08

      (1959). Accord Phelps Dodge Corp. v. NLRB, 313 U.S. 177, 192-93 (1941) (Board is

      “not devised” for “limited function” of “correcti[ng] [ ] private injuries.”). The Board

      advances the public interest by performing the “special function of applying the general

      provisions of the Act to the complexities of industrial life.” See NLRB v. Erie Resistor

      Corp., 373 U.S. 221, 236 (1963). Thus, the Board “has the primary responsibility for

      developing and applying national labor policy,” NLRB v. Curtin Matheson Scientific,

      Inc., 494 U.S. 775, 786 (1990), which is a “difficult and delicate responsibility”

      Anheuser-Busch, Inc. v. NLRB, 338 F.3d 267, 273 (4th Cir. 2003).

                   d. It is therefore important for the position of the Board to be within the

      Board’s exclusive control on appeal, where the Board’s role is to explain and defend its

      determinations on matters of public right. In fulfilling this role, the Board, unlike

      private parties, cannot venture outside the four corners of its decision. Instead, it can

      only prevail based on the rationale put forward in its decision, regardless of any

      additional arguments a private party may make in support of that decision (e.g.,

      Intervenor ILA’s “underlying act” argument, discussed above at ¶4(b)). Indeed, as the

      Supreme Court has held, “[a]n agency’s action must be upheld, if at all, on the basis

      articulated by the agency itself.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto

      Ins. Co., 463 U.S. 29, 50 (1983) (citing SEC v. Chenery Corp., 332 U.S. 194, 196




                                                   4
USCA4 Appeal: 23-1059     Doc: 39        Filed: 03/03/2023   Pg: 5 of 10




      (1947)). Accord Gonzalez v. Garland, 16 F.4th 131, 144 (4th Cir. 2021) (citing State

      Farm).

                   e. Consistent with these principles, on review of Board decisions and

      orders, courts routinely permit the Board to file its own briefs—separate from the

      private parties involved—even if those private parties have intervened on the Board’s

      side. See e.g., Bardon, Inc. v. NLRB, 4th Cir. No. 22-1340 (Doc. #38, Sept. 7, 2022

      order granting motion to file separate briefs); NLRB v. Aakash, 9th Cir. No. 22-70002

      (Doc. #18, February 15, 2022 order setting briefing schedule with separate Board and

      intervenor briefs); IUOE Local 18 v. NLRB, D.C. Cir. No. 17-1122 (Doc. #16, June 28,

      2017 order setting briefing schedule with separate Board and intervenor briefs). Indeed,

      Board counsel is unaware of any instance in which the Board has ever filed a joint brief

      with a private-party intervenor.

            5. Accordingly, given the Board’s unique position both in the proceeding below

      and in the present appeal, the Board should be permitted to defend its Decision and

      Order separate from the other parties in the case, including in its own Respondent’s

      brief and later Response brief to USMX.

            6. Counsel for the Unions have indicated that they do not object to the Board’s

      motion for separate briefs and will be filing a similar motion themselves. Counsel for

      USMX has indicated it does not object to the Board’s motion for separate briefs.

      Counsel for SCSPA and the State have indicated that they do not object to the Board


                                                  5
USCA4 Appeal: 23-1059     Doc: 39        Filed: 03/03/2023    Pg: 6 of 10




      filing a separate brief, provided the briefs filed on the Board’s side do not cumulatively

      exceed the 16,000 word limit imposed by the February 23 Court Order. However,

      SCSPA and the State would object to separate briefs that cumulatively exceed the

      16,000 word limit set by the Court’s order.

            WHEREFORE, the Board respectfully requests that the Court allow the Board to

      file its own Respondent’s brief and later Response brief to USMX.



                                             Respectfully submitted,



                                             /s/ Ruth Burdick
                                             Ruth Burdick
                                             Deputy Associate General Counsel
                                             National Labor Relations Board
                                             1015 Half Street, SE
                                             Washington DC 20570
                                             (202) 273-2960

      Dated at Washington, DC
      This 3rd day of March, 2023




                                                    6
USCA4 Appeal: 23-1059    Doc: 39       Filed: 03/03/2023   Pg: 7 of 10




                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

        SOUTH CAROLINA STATE PORTS              )
        AUTHORITY                               )
                                                )
                                 Petitioner     )    Case No. 23-1059
                                                )
                      and                       )
                                                )
        THE STATE OF SOUTH CAROLINA;            )
        UNITED STATES MARITIME                  )
        ALLIANCE, LTD.                          )
                                                )
                                 Intervenors    )
                                                )
                       v.                       )
                                                )
        NATIONAL LABOR RELATIONS BOARD )
                                                )
                                 Respondent     )
                                                )
                     and                        )
                                                )
        INTERNATIONAL LONGSHOREMEN’S            )
        ASSOCIATION, LOCAL 1422;                )
        INTERNATIONAL LONGSHOREMEN’S            )
        ASSOCIATION                             )
                                                )
                                 Intervenors    )
             _______________________________________________________

                             CERTIFICATE OF COMPLIANCE

             Pursuant to Federal Rule of Appellate Procedure 32(g)(l), the Board certifies

        that the foregoing document contains 1,261 words of proportionally spaced, 14-

        point type, and that the word processing system used was Microsoft Word 2016.
USCA4 Appeal: 23-1059   Doc: 39      Filed: 03/03/2023   Pg: 8 of 10




                                     /s/ Ruth E. Burdick
                                     Ruth E. Burdick
                                     Deputy Associate General Counsel
                                     NATIONAL LABOR RELATIONS BOARD
                                     1015 Half Street, SE
                                     Washington, DC 20570

        Dated at Washington, DC
        this 3rd day of March 2023
USCA4 Appeal: 23-1059    Doc: 39        Filed: 03/03/2023       Pg: 9 of 10




                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

        SOUTH CAROLINA STATE PORTS                          )
        AUTHORITY                                           )
                                                            )
                                        Petitioner          )        Case No. 23-1059
                                                            )
                          and                               )
                                                            )
        THE STATE OF SOUTH CAROLINA;                        )
        UNITED STATES MARITIME                              )
        ALLIANCE, LTD.                                      )
                                                            )
                                        Intervenors         )
                                                            )
                           v.                               )
                                                            )
        NATIONAL LABOR RELATIONS BOARD                      )
                                                            )
                                        Respondent          )
                                                            )
                         and                                )
                                                            )
        INTERNATIONAL LONGSHOREMEN’S                        )
        ASSOCIATION, LOCAL 1422;                            )
        INTERNATIONAL LONGSHOREMEN’S                        )
        ASSOCIATION                                         )
                                                            )
                                        Intervenors         )
        _______________________________________________________

                                   CERTIFICATE OF SERVICE

              I hereby certify that on March 3, 2023, I electronically filed the foregoing

        document with the Clerk of the Court for the United States Court of Appeals for

        the Fourth Circuit by using the appellate CM/ECF system. I further certify that
USCA4 Appeal: 23-1059    Doc: 39        Filed: 03/03/2023   Pg: 10 of 10




        this document was served on all parties or their counsel of record through the

        CM/ECF users.


                                        /s/ Ruth E. Burdick
                                        Ruth E. Burdick
                                        Deputy Associate General Counsel
                                        NATIONAL LABOR RELATIONS BOARD
                                        1015 Half Street, SE
                                        Washington, DC 20570

        Dated at Washington, DC
        this 3rd day of March 2023
